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                               UNITED STATES DISTRICT COURT
8
9                             EASTERN DISTRICT OF CALIFORNIA
10
11   T. BAXTER DUNN                                  ) Case No. 2:02-CR-00468-05
12                                                   )
                    Petitioner,                      ) ORDER GRANTING WRIT OF
13
                                                     ) CORAM NOBIS
14   v.                                              ) Under the “All Writs Act”
15                                                   )
     UNITED STATES of AMERICA                        ) District Judge: Morrison C. England, Jr.
16
                                                     )
17                  Respondent.                      )
18                                                   )
19
20           Good cause appearing, and because the motion is unopposed by the United
21   States, the Court HEREBY GRANTS Petitioner T. Baxter Dunn’s Writ of Coram
22   Nobis, vacating and setting aside Petitioner’s 2005 conviction for honest services
23   mail fraud (2:02CR00468-05) in its entirety.
24           IT IS SO ORDERED.
25   DATED: April 6, 2011
                                                  _______________________________________
26                                                MORRISON C. ENGLAND, JR.
27                                                UNITED STATES DISTRICT JUDGE

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